  1   MUFTHIHA SABARATNAM, ESQ. (State Bar No. 162982)
      Law Offices of Mufthiha Sabaratnam
  2   1300 Clay Street, Suite 600
      Oakland, CA 94612
  3   Telephone No. (510) 205-0986
      Facsimile No. (510) 225-2417
  4
      Attorneys for Debtor
  5
  6
                                UNITED STATES BANKRUPTCY COURT
  7
                       NORTHERN DISTRICT OF CALIFORNIA - OAKLAND
  8
                                              )          Case Number: 18-41099 WJL
  9   In Re:                                  )
                                              )          Chapter 11
 10                                           )
      Marc Protenic                           )          NOTICE OF HEARING ON
 11                                           )          OBJECTIONS TO CLAIM BOSCO
      Dena Protenic                           )          CREDIT, LLC, CLAIM #3
 12                                           )
                                              )          DATE:          December 5, 2018
 13                                           )          TIM E:         10.30 a.m.
                                              )          CTRM:          220
 14                           Debtors.        )
                                              )          1300 Clay Street
 15                                                      Oakland, CA 94612
 16                                                      Hon. W.J. Lafferty
 17
 18            TO: BOSCO CREDIT, LLC, ITS ATTORNEYS OF RECORD, OFFICE OF THE
 19   UNITED STATES TRUSTEE AND INTERESTED PARTIES:
 20            PLEASE TAKE NOTICE, that the hearing, on the Objection to the Claim of BOSCO
 21   CREDIT, LLC, Claim Number 5, ( the “Claim Objection”) is set for December 5, 2018, at
 22   10.30 a.m., before the Hon. W.J. Lafferty, in Courtroom 215, of the United States Bankruptcy
 23   Court for the Northern District of California (the “Court”), located at 1300 Clay Street, Oakland,
 24   California.
 25            PLEASE TAKE FURTHER NOTICE that if you do not file with the Court and served
 26   upon the undersigned counsel for the Debtors, and other required parties, an opposition,
 27   objection, or other response (generically, an “Opposition”), to the Claim Objection, the Debtors
 28   through Counsel will seek an order by default disallowing the Claim. If you object to the

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  1   disallowance of the Claim, you must file and serve an Opposition on or before 14 days prior to
  2   the actual scheduled hearing date. Bankruptcy Local Rule 9014-1 prescribes the procedures to be
  3   followed when file an Opposition.
  4   LBR 3007-1. Objections to Claim.
  5   (a) Copy of Claim.
  6   Unless the Court orders otherwise, on an objection to claim, a copy of the claim, absent any
  7   attachments or exhibits, shall be included.
  8   (b) Factual Dispute.
  9   Where a factual dispute is involved, the initial hearing on an objection shall be deemed a status
 10   conference at which the Court will not receive evidence. Where the objection involves only a
 11   matter of law, the matter may be argued at the initial hearing. Any notice of hearing on a claim
 12   objection shall so state.
 13   (c) Time and Manner of Service.
 14   B.L.R. 9014-1(b) and (c) shall apply to Objections to Claims made under this rule, except that
 15   the notice provision of B.L.R. 9014-1(b)(3)(A) (time to object and request a hearing), the notice
 16   provision of B.L.R. 9014-1(c)(1) and the notice provision of B.L.R. 9014-1(c)(2) (notice of
 17   scheduled hearing date) shall each be 30 days. Service of the objection shall be in accordance
 18   with Bankruptcy Rule 3007(a)(2).
 19   USCS Bankruptcy R 3007
 20   Rule 3007. Objections to Claims
 21   (a) Time and manner of service.
 22   (1) Time of Service. An objection to the allowance of a claim and a notice of objection that
 23   substantially conforms to the appropriate Official Form shall be filed and served at least 30 days
 24   before any scheduled hearing on the objection or any deadline for the claimant to request a
 25   hearing.
 26   (2) Manner of Service.
 27   (A) The objection and notice shall be served on a claimant by first-class mail to the person most
 28   recently designated on the claimant’s original or amended proof of claim as the person to receive

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  1   notices, at the address so indicated; and
  2   (i) if the objection is to a claim of the United States, or any of its officers or agencies, in the
  3   manner provided for service of a summons and complaint by Rule 7004(b)(4) or (5); or
  4   (ii) if the objection is to a claim of an insured depository institution, in the manner provided by
  5   Rule 7004(h).
  6   (B) Service of the objection and notice shall also be made by first-class mail or other permitted
  7   means on the debtor or debtor in possession, the trustee, and, if applicable, the entity filing the
  8   proof of claim under Rule 3005.
  9   Respectfully Submitted
 10   DATE: October 24, 2018                          /s/Mufthiha Sabaratnam
                                                      Mufthiha Sabaratnam
 11                                                   Counsel for Debtor
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      NOTICE OF HEARING -OBJECTION                     -3-
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 1                                        PROOF OF SERVICE
 2   State of California )
     County of Alameda )
 3          I declare under penalty of perjury under the laws of the United States of America that I
 4   am a resident of and employed in the county aforesaid. I am over the age of eighteen years and
 5   not a party to the within entitled action. My business address is 1300 Clay Street, Suite 600,
 6   Oakland, CA 94612.
 7           On 10/25/2018, I served the within NOTICE OF HEARING ON OBJECTIONS TO
 8   CLAIM BOSCO CREDIT, LLC, CLAIM #3 on the concerned parties in said action, by
 9   placing a true copy thereof enclosed in a sealed envelope addressed as follows:
10                                            See List attached
11   X      (By Mail) I am readily familiar with the business practice for the collection and
12   processing of correspondence for mail with the United States Postal Service. I know that the
13   correspondence is deposited with the United States Postal Service on the same day this
14   declaration was executed in the ordinary course of business. I know that the envelope was sealed
15   and with postage thereon fully prepaid, placed for collection and mailing on this date, following
16   ordinary business in the United States mailed at Oakland, California.
17           (By Hand) I caused such envelope to be delivered by hand to the offices of the
18   addressee(s).
19         (By Facsimile) I caused such document to be sent via facsimile telecommunication
20   transmission to the offices of the addressee(s).
21         (State) I declare under penalty of perjury under the laws of the State of California that the
22   foregoing is true and correct.
23   X     (Federal) I declare that I am employed in the office of a member of the bar of this court at
24   whose direction the service was made.
25   Executed on 10/25/2018 at Oakland, California.
26                                                                   /s/Mufthiha Sabaratnam
                                                                     Mufthiha Sabaratnam
27
     CERTIFICATE OF SERVICE
28                                                      -2-




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 1
 2   In re: Marc S. And Dena J. Protenic
 3   Case Number:
     Debtors
 4   Marc S. Protenic
     Dena J. Protenic
 5
     110 Sienna Place,
 6   Danville, CA 94506
     CONTRA COSTA -CA
 7
 8   The following is the list of parties who are currently on the list to receive email notice/service
 9   for this case.
10   Electronic Mail Notice List
11   2. The following is the list of parties who are currently on the list to receive email notice/service
     for this case.
12
         Lynette C. Kelly lynette.c.kelly@usdoj.gov, ustpregion17.oa.ecf@usdoj.gov
13
         Office of the U.S. Trustee/Oak USTPRegion17.OA.ECF@usdoj.gov
14
         Mufthiha Sabaratnam mufti@taxandbklaw.com
15
         ***Kristin A. Zilberstein kzilberstein@ghidottilaw.com, ecfnotifications@ghidottilaw.com
16
     From POC -
17   PLEASE NOTE: Ms Zilberstein is also on the list of parties to receive email notice/service for
     this case.She will receive service via Court email.
18
     The POC also lists that she is the Authorized Agent for the Creditor.
19
     Kristin A. Zilberstein
20   Authorized Agent for Creditor
     The Law Offices of Michelle Ghidotti
21   1920 Old Tustin Ave
     Santa Ana, CA 92706
22   Tel: (949)427-2010
     kzilberstein@ghidottilaw.com
23
24
25
26
27
     CERTIFICATE OF SERVICE
28                                                    -3-




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Label Matrix for local noticing                   Bosco Credit LLC                                  U.S. Bankruptcy Court
0971-4                                            The Law Offices of Michelle Ghidotti              1300 Clay Street, Suite 300
Case 18-41099                                     1920 Old Tustin Avenue                            Oakland, CA 94612-1426
Northern District of California                   Santa Ana, CA 92705-7811
Oakland
Sun Sep 23 16:10:15 PDT 2018
ALLIANCEONE                                       (p)BANK OF AMERICA                                Bmby/cbna
PO BOX 2449                                       PO BOX 982238                                     Po Box 6497
Gig Harbor, WA 98335-4449                         EL PASO TX 79998-2238                             Sioux Falls, SD 57117-6497



Bosco Credit LLC                                  Bosco Credit LLC                                  Bridgeport Financial
c/o Dean Prober - Prober and Raphael              c/o Franklin Credit Management Corp.              1111 Willow St Fl 2
20750 Ventura Blvd., Suite 100                    PO Box 2301                                       San Jose, CA 95125-3158
Woodland Hills, CA 91364-6207                     Jersey City, NJ 07303-2301


CHASE RECEIVABLES                                 (p)CREDIT BUREAU ASSOCIATES                       Cal State Emp Cr Un 9
1247 BROADWAY                                     PO BOX 150                                        Po Box 271768
Sonoma, CA 95476-7503                             FAIRFIELD CA 94533-0150                           Concord, CA 94527



Creditors Bureau USA                              Esb/harley Davidson Cr                            FRANCHISE TAX BOARD
Attn: Bankruptcy                                  Po Box 21829                                      BANKRUPTCY SECTION MS A340
757 L Street                                      Carson City, NV 89721-1829                        PO BOX 2952
Fresno, CA 93721-2998                                                                               SACRAMENTO CA 95812-2952


Ford Cred                                         Franchise Tax Board                               (p)FRANKLIN CREDIT MANAGEMENT CORP
Po Box Box 542000                                 Bankruptcy Section,MS:A-340                       101 HUDSON STREET
Omaha, NE 68154-8000                              P.O.Box 2952                                      25TH FLOOR
                                                  Sacramento, CA 95812-2952                         JERSEY CITY NJ 07302-3984


Gary Fong DDS                                     HSBC/Bsbuy                                        Internal Revenue Service
22551 2nd Street, #265                            PO Box 9                                          P.O. Box 7346
Hayward, CA 94541-4130                            Buffalo, NY 14240-0009                            Philadelphia, PA 19101-7346



LVNV Funding, LLC its successors and assigns      Linda Markel                                      Michael Strauss
assignee of Citibank (South Dakota),              1808Ridgeland Circle                              696 San Ramon Valley Blvd., #306
N.A.                                              Danville, CA 94526-5600                           Danville, CA 94526-4022
Resurgent Capital Services
PO Box 10587
Greenville, SC 29603-0587
Mohela/Dept of Ed                                 Oakridge at Greystone Ranch Assn                  Office of the U.S. Trustee/Oak
633 Spirit Dr                                     2266 Camino Ramon                                 Office of the United States Trustee
Chesterfield, MO 63005-1243                       San Ramon, CA 94583-1353                          Phillip J. Burton Federal Building
                                                                                                    450 Golden Gate Ave. 5th Fl., #05-0
                                                                                                    San Francisco, CA 94102-3661

Office of the United States Trustee               PINNACLE CREDIT SERVIC                       Pinnacle Credit Services, LLC its successors
Attn: Lynette C. Kelly                            7900 HIGHWAY 7 # 100                         assigns as assignee of Citibank (South
450 Golden Gate Ave., 5th Fl., #05-               Minneapolis, MN 55426-4045                   Dakota), N.A.
San Francisco, CA 94102-3405                                                                   Resurgent Capital Services
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                                                                            Entered: 10/25/18 09:03:57
                                                                                               Greenville, SC 29603-0587
Rash Curtis & Associates                              Raymond Hoyt                                         Safeamerica FCU
Attn: Bankruptcy                                      6520 N. Colfax Street                                6001 Gibralter Dr
Po Box 5790                                           Coeur D Alene, ID 83815-9229                         Pleasanton, CA 94588-2707
Vacaville, CA 95696-5790


Safeamerica Federal                                   Sears/CBNA                                           Stanislaus Credit Control Service, Inc.
6001 Gibraltar Dr                                     PO Box 6189                                          Po Box 480
Pleasanton, CA 94588-2707                             Sioux Falls, SD 57117-6189                           Modesto, CA 95353-0480



Syncb/Discount Tire                                   Synchrony Bank/Discount Tire                         TRUE NORTH AR
PO Box 981439                                         Attn: Bankruptcy                                     3105 FITE CIR STE 108
El Paso, TX 79998-1439                                Po Box 105972                                        Sacramento, CA 95827-1812
                                                      Atlanta, GA 30348-5972


Technology Credit Unio                                Thd/cbna                                             Trojan Professional Se
2010 N 1st St Ste 200                                 Po Box 6497                                          4410 Cerritos Ave
San Jose, CA 95131-2024                               Sioux Falls, SD 57117-6497                           Los Alamitos, CA 90720-2549



USAA Savings Bank                                     Universal/Citi                                       Verizon Wireless
PO Box 47504                                          PO Box 6241                                          1 Verizon Pl
San Antonio, TX 78265                                 Sioux Falls, SD 57117-6241                           Alpharetta, GA 30004-8510



WF Crd Svc                                            Wachrl                                               Wfhm
PO Box 14517                                          PO Box 3117                                          4101 Wiseman Blvd # Mc-t
Des Moines, IA 50306-3517                             Winston Salem, NC 27102-3117                         San Antonio, TX 78251-4200



Dena J Protenic                                       Marc S Protenic                                      Mufthiha Sabaratnam
110 Sienna Place                                      110 Sienna Place                                     Sabaratnam and Associates
Danville, CA 94506-4682                               Danville, CA 94506-4682                              1300 Clay St. #600
                                                                                                           Oakland, CA 94612-1427




                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bk Of Amer                                            CREDIT BUREAU ASSOCIAT                               Franklin Credit Mngmnt
Po Box 982235                                         460 UNION AVE                                        101 Hudson St
El Paso, TX 79998                                     Fairfield, CA 94533                                  Jersey City, NJ 07302




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
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(u)04 Contra Costa County                 (u)ALLIANCEONE RECEIVABLE                        (u)Calif Emergency
                                          6565 KIMBALL DR
                                          GIG HARBOR



(u)Citibank                               (u)Contra Costa County                           (d)Internal Revenue Service
                                                                                           P.O. Box 7346
                                                                                           Philadelphia, PA 19101-7346



(d)Internal Revenue Service               (u)John Muir Health Wal                          (u)John Muir Physician
PO Box 7346
Philadelphia, PA 19101-7346



(u)Lee Chiropractic                       (u)Mark S Nadler DMD                             (u)Med 02 Calif Emerge




(u)Ucsf Predoctoral Cln                   End of Label Matrix
                                          Mailable recipients      50
                                          Bypassed recipients      13
                                          Total                    63




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